                Case 8:12-cr-00587-AW Document 18 Filed 01/08/13 Page 1 of  1
                                                                        FILED
                                                                                                        /                        ENTERED
                                                                                                    _ _ LOGGED                   RECEIVED



                                IN THE UNITED STATES DISTRICT COURT                                            JAN 0 8 2013
                                    FOR THE DISTRICT OF MARYLAND
                                                                                                                  AT GREENBELT
                                                                                                            CLERK, U,S DISTRICT COURT
                                                                                                              DISTRICT OF MARYLAND

                                                                                                                                        DEPUTY
                                                                                                   BY       ~
UNITED STATES OF AMERICA
                                                                     *
                        vs.                                                            Case No.   AW

    AMECHIONYEACHOLEM
                                                                     *
                                                                ******
                               ORDER FOR MEDICAL EVALUATION
                           AND APPROPRIATE TREATMENT OF DETAINEE

          The Defendant and/or counsel having reported that the Defendant suffers from the

following conditions and/or has been prescribed the following medications:



and the Court having the following additional concerns:
                                                                                   ~ 10/> -;;/O'fte-'(tC
                                                                                     ~ I.J:.... __ IL/~ ~
                                                                                  (!::J
             ~tz+,. M~                                             -?~a:I' ~rF~Wf7Y
               f-SUof..-~                                             - k!~J'~I(/fV< ~
          IT IS    ORDERE~at               the United States Marshal and/or his contracting agencies:                      ~                 9
           1.        Cause the Defendant to promptly receive an evaluation by an appropriate health

care provider:

          2.         Cause the Defendant to receive care and treatment consistent with the standard of

care for the illness(es) and/or condition(s) revealed by the evaluation;

          3.         Make appropriate records and reports concerning the above illnesses, conditions,

and treatment, and, if requested, provide the same to the Court; and

          4.         Deliver a copy of this order to the personnel in charge of the                     efendant at the

place of detention.

January 8, 2013
Date                                                                       Charles B. Day
                                                                           United States Magistrate Judge



U.s. District Court (Rev. \0/\012002) Criminal Magistrate Forms: Order for Medical Treatment
